IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF PUERTO RICO é A

IN RE * CASE NO. 04-
Ocasio Rivera, Heriberto & *
Negron Cruz, Luz Aida * CHAPTER 13
A/K/A Centro Ventas Productos Agricolas * Be
DEBTOR (8) * XO.
KEE EER EER IRE TANIA ER ERRE RE REERERRERERERERRERER EER eZ wks
On, We
«os et “6 .
NOTICE OF FILING PETITION IN BANKRUPTCY UNDER 5 QE
CHAPTER 13 AND OF AUTOMATIC STAY OF SUITS Barw 8 3 os -
You are hereby notified that Ocasio Rivera, Heriberto & Negron Cruz, LuZa.< . Ms

Aida has filed etition under Chapter13 of Title 11, United States Code
Je 1 Ub P

on

Pursuant to the provisions of 11 USC §362, the filing of the petition by the
above-named debtors operates as a stay of the commencement or continuation
of any court or other proceeding against the debtors, of the enforcement of any
judgment against them, of any act or the commencement or continuation of any
court proceeding to enforce any lien on the property of the debtors, and of any
court proceeding commenced for the purpose of rehabilitation of the debtors or
the liquidation of their estate.

You are further notified that under Bankruptcy Act, 17 U.S.C. §1301, a
creditor may not act, or commence or continue any civil action, to collect all or
any part of a consumer debt of the debtors from any individual that is liable on
such debt with the debtors.

This notice is sent to you by order of the United States Bankruptcy Judge.
San Juan, Puerto Rico, this OCT i? 2004

MATTA-MENDEZ, CLERK
UPTCY COURT

By: EPUTY CLERK

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(Official Form 1) (12/03)

FORM BI |
t

District of Puerto Rico

United States Bankruptcy Court

Voluntary Petition

Name of Debtor (if individual, enter Last, First, Middle):
Ocasic Rivera, Heriberto

Name of Joint Debtor (Spouse) (Last, First, Middle);
Negrén Cruz, Luz Aida

All Other Names used by the Debtor in the last 6 years

(include married, maiden, and trade names):

a/k/a Centro Ventas Productos
Agricolas (closed 2003)

All Other Names used by the Joint Debtor in the last 6 years

(include married, maiden, and trade names):

Last four digits of Soc, Sec. No./Complete EIN or other Tax LD.
No. (if more than one, state all}; 3820

Last four digits of Sac. Sec, No./Complete EIN or other Tax LD.
No. (if more than one, state all): 3263

Street Address of Debtor (No. & Street, City, State & Zip Code):
Bo. Jaguas

Carr 914 Km 4.4

Gurabo, PR

Street Address of Joint Debtor (No. & Street, City, State & Zip Code);
Bo. Jaquas

Carr 914 Km 4.4

Gurabo, PR

County of Residence or of the

Principal Place of Business: Gurabo

County of Residence or of the

Principal Place of Business: Gurabo

Mailing Address of Debtor (if different from street address}:
HC 1 Box 9449
Gurabo, PR 00778-9802

Mailing Address of Joint Debtor (if different from street address):

Location of Principal Assets of Business Debtor
(if different from street address above):

Venue (Check any applicable box)

Information Regarding the Debtor (Check the Applicable Boxes)

Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other District.
(] There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

Type of Debtor (Check all boxes that apply}

iw Individual(s) [] Railroad

CJ Corporation E] Stockbroker

L) Partnership [] Commodity Broker
[] Other (4 Clearing Bank

Nature of Debts (Check one box)
(% Consumer/Non-Business {] Business

Chapter or Section of Bankruptcy Code Under Which
the Petition is Filed (Check one box}
C] Chapter 7 (1 Chapter 11 Chapter 13
[1 Chapter 9 C) Chapter 12
[] Sec. 304 - Case ancillary to foreign proceeding

Chapter 11 Sraall Business (Check all boxes that apply)

(J Debtor is a small business as defined in 1( U.S.C. § 101
[1 Debtor is and elects to be considered a small business under
11 ULS.C. § 1t21(e) (Optional)

Filing Fee (Check one box)

we Full Filing Fee attached

{] Filing Fee to be paid in installments (applicable to individuals only)
Must attach signed application for the court’s consideration
certifying that the debtor is unable to pay fee except in installments.
Rule 1006(b). See Official Form No. 3.

Statistical/Administrative Information (Estimates only) THIS SPACE ($ FOR COURT USE ONLY
Debtor estimates that funds will be available for distribution to unsecured creditors. \
[1] Debtor estimates that, after any exempt property is excluded and administrative expenses \
paid, there will be no funds available for distribution to unsecured creditors.
. . 1-15 16-49 50-99 100-199 200-999 1000-over
Estimated Number of Creditors Oo oO oO oO ol 8
Estimated Assets W
$0 to $50,001 ta $100,001 to = $500,001 to $1,000,001 to $10,000,001 to $50,000,001 to More than Q ane
$40,000 wt $500,000 $1 million $10 million $50 million «= $100 million §=«=—- $100 million at = ; my
o Oo Oo o Oo O oO ORS pw =
i
Estimated Debts \y ; ~)
§0 to $50,001 to $100,001 to $500,001 to $1,000,001 ta $10,000,001 10 $50,000,001 to Mere than c ony
$50,000 $100,000 oy $1 million $10 million $30 million $100 million $100 million we . he oe fe
O Oo Oo o Oo O Oo Poon
VOLUNTARY PETITION fs gle —s
Oe oe i .
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(Official Form 1) (12/03)

FORM Bl, Page 2

Voluntary Petition
(This page must be completed and filed in every case)

Name of Debtor(s):
Ocasio Rivera, Heriberto & Negrén Cruz, Luz Aida

Location
Where Filed: Puerto Rico

Prioy Bankruptcy Case Filed Within Last 6 Years (If more than one, attach additional sheet)

Case Number: Date Filed:
02-13682 SEK 12/27/02

Pending Bankruptcy Case Filed by any Spouse, Partner or

Affiliate of this Debtor (If more than one, attach additional sheet)

I declare under penalty of perjury that the information provided in this
petition is true and correct.

[ff petitioner is an individual whose debts are primarily consumer
debts and has chosen to file under Chapter 7} 1 am aware that I may
proceed under chapter 7, 11, 12 or 13 of title 11, United State Code,
understand the relief available under each such chapter, and choose to
proceed under chapter 7.

t reef in accordance with the chapter of title 11, United States

é on ol ° Heriberto Ocasio Rivera
AL Ch. Mesut Co Cee,

aan afffoi int Debtor Luz Afda Negrén Cruz

Telephone Number (If nat represented by attamey)

October 7, 2004

Date

Name of Debior: Case Number: Date Filed:
None
District: Relationship: Judge:
Signatures
Signature(s) of Debtor(s) Undividual/Joint) Exhibit A

(To be completed if debtor is required to file periodic reports

(e.g., forms 10K and 10Q) with the Securities and Exchange

Commission pursuant to Section 13 or 15(d) of the Securities
Exchange Act of 1934 and is requesting relief under chapter 11)

CI Exhibit A is attached and made a part of this petition.

Exhibit B
{To be completed if debtor is an individual
whose debts are primarily consumer debts)
I, the attorney for the petitioner named in the foregoing petition,

Exhibit C
Does the debtor own or have possession of any property that poses or

ROBERTO FIGUEROA CARRASQUIL

Printed Name of Attorney for Debtor(s)

R. FIGUEROA CARRASQUILLO ATTORNEY AT LAW
Firm Name

PO BOX 186

Address

CAGUAS, PR_ 00726-0186

(787) 744-7699
Telephone Number

October 7, 2004
Date

is alleged to pose a threat of imminent and identifiable harm to public
health or safety?

Clyes, and Exhibit C is attached and made a part of this petition.
No

Signature of Non-Attorney Petition Preparer
E certify that I am a bankruptcy petition preparer as defined in [1
U.S.C. § 110, that 1 prepared this document for compensation, and that
Lhave provided the debtor with a copy of this document.

Printed Name of Bankruptey Petition Preparer

Social Security Number (Required by 11 U.S.C, § [10fc).)

Address

Signature of Debtor (Corporation/Partnership)
I declare under penalty of perjury that the information provided in this
petition is true and correct, and that I have been authorized to file this
petition on behalf of the debtor.

The debtor requests relief in accordance with the chapter of title 11,
United States Cade, specified in this petition.

X

Signature of Authorized Individual

Printed Name of Authorized Individual

Title of Authorized Individual

Date

Names and Social Security numbers of ali other individuals who
prepared or assisted in preparing this document:

If more than one person prepared this document, attach additional
sheets conforming to the appropriate official form for each person.

X

Signature of Banknuptcy Petition Preparer

Date

A bankruptcy petition preparer’s failure to comply with the provisions
of title 11 and the Federal Rules of Bankruptcy Procedure may result
in fines or imprisonment or both 11 U.S.C. § 110; 18 U.S.C, § 156,

VOLUNTARY PETITION
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United States Bankruptcy Court

. , District of Puerto Rico
IN RE; Case No, 04-
Ocasio Rivera, Heriberto & Negrén Cruz, Luz Aida Chapter 13
Debtor(s}
SUMMARY OF SCHEDULES

Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts from Schedules D, E, and F to determine the total
amount of the debtor's liabilities.

AMOUNTS SCHEDULED

ATTACHED | NUMBER OF
NAME OF SCHEDULE (YES/NO) SHEETS ASSETS LIABILITIES

A - Real Property Yes 1 85,000.00

B - Personal Property Yes 2

C - Property Claimed as Exempt Yes 4

D - Creditors Holding Secured Claims Yes 4 56,930.00

E- Creditors Holding Unsecured Priority Yes 2 4,100.00
Claims

F- Creditors Holding Unsecured. Yes 4 400,111.00
Nonpriority Claims
G - Executory Contracts and Unexpired Yes 4
Leases
H - Codebtors Yes 1
I- Current Income of Individual
Debtor(s) Yes 2 2,068.10
J- Current Expenditures of Individual Yes 4 4,618.10
Debtor(s)
Total Number of Sheets in Schedules 16
Total Assets 89,515.00

Total Liabilities 158,141.00

SUMMARY OF SCHEDULES
a
’

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IN RE Ocasio Rivera, Heriberto & Negron Cruz, Luz Aida
‘ ' Debtor(s)

SCHEDULE A - REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-tenant, community
property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor's own benefit, If the debtor is
married, state whether husband, wife, or both own the property by placing an "H" for Husband, "W" for Wife, "J" for Joint, or "C" for Community in the column labeled

“HWIC." If the debtor holds no interest in real property, write "None" under "Description and Location of Property".

Case No. 04-

Do not include interests in executory contracts and unexpired leases on the schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.
[fan entity claims to have a lien or hold a security interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured

interest in the property, write "None" in the column labeled "Amount of Secured Claim’,

If the debtor is an individual or if joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

SCHEDULE A- REAL PROPERTY

CURRENT MARKET
H VALUE OF DEBTOR'S
NATURE OF DEBTOR'S W | INTEREST IN PROPERTY AMOUNT OF SECURED
DESCRIPTION AND LOCATION OF PROPERTY INTEREST IN PROPERTY J WITHOUT DEDUCTING CLAIM
C | ANY SECURED CLAIM OR
EXEMPTION
Cement residential property (3 bedrooms, 2 bathrooms, J 85,000.00 65,416.00
kitchen, living room, dining room, garage) and lot located at
Bo. Jaguas, Carr 941, Km 4.4, Gurabo, Puerto Rico
TOTAL 85,000.00

(Report also on Summary of Schedules)
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IN RE Ocasio Rivera, Heriberto & Neqrén Cruz, Luz Aida Case No, 04-
1 ‘ Debtor(s}

SCHEDULE B - PERSONAL PROPERTY

Except as directed below, list all personal property of the debtor of whatever kind, If the debtor has no property in onc or more of the categories, place an "X" in the
appropriate position in the column labeled "None". [f additional space is needed in any category, attached a separate sheet properly identified with the case name, case number,
and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing an "H" for Husband, "W" for Wife, "J" for Joint,
or “C" for Community in the column labeled "HWJC." If the debtor is an individual or a joint petition is filed, state the amount of any exemptions only in Schedule C -
Property Claimed as Exempt.

Do not include interests in executory contracts and unexpired leases on the schedule. List them in Schedule G - Executory Contracts and Unexpired Leased.

If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property".

CURRENT MARKET
N H | VALUE OF DEBTOR'S
° W | INTEREST IN PROPERTY
TYPE OF PROPERTY N DESCRIPTION AND LOCATION OF PROPERTY | | WIttouT DEDUCTING
E C ] ANY SECURED CLAIM OR
EXEMPTION

1, Cash on hand. x

2. Checking, savings or other financial x
accounts, certificates of deposit, or
shares in banks, savings and Ioan,
thrift, building and loan, and
homestead associations, or credit
unions, brokerage hauses, or
caoperatives.

3. Security deposits with public utilities, | X
telephone companies, landlords, and
others.

4. Household goads and furnishings, Bedroom set J 300.00
include audio, video, and computer Bedroom set J 300.00
equipment. .

Cistern J 200.00
Dining room set J 200.00
Electricity generator J 400.00
Gas water heater J 100.00

Grass cutter 75,00

Living room set J 300.00
Master bedroom set J 400.00
Miscellaneous kitchen equipments and furnishings J 200,00
Refrigerator J 200.00
Stove J 100.00
TV set J 100.00
VCR J 40,00
Washer machine J 100.00
5, Books, pictures and other art objects, | X
antiques, stamp, coin, record, tape,
compact dise, and other collections or
collectibles.
6. Wearing apparel. Clothes and personal effects J 300.00
7. Furs and jewelry. Xx
8. Firearms and sports, photographic, X

and other hobby equipment.

9. Interest in insurance policies. Name x
insurance company of each policy and
itemize surrender or refund value of
each,

10. Annuities. Itemize and name each x
issue.

L1. Interests in IRA, ERISA, Keogh, or x
other pension or profit sharing plans,
Itemize.

SCHEDULE B - PERSONAL PROPERTY
’. IN RE Ocasio Rivera, Heriberto & Negron Cruz, Luz Aida Case No, 04-
’ ‘ Debtor(s)
: SCHEDULE B - PERSONAL PROPERTY
, (Continuation Sheet)
CURRENT MARKET
N H | VALUE OF DEBTOR'S
o W | INTEREST IN PROPERTY
‘TYPE OF PROPERTY RN DESCRIPTION AND LOCATION OF PROPERTY 1 | WITHOUT DEDUCTING
E C | ANY SECURED CLAIM OR
EXEMPTION
12, Stock and interests in incorporated x
and unincorporated businesses.
Itemize,
13, Interests in partnerships or joint x
ventures, [temize,
14, Government and corporate bonds and
other negotiable and non-negotiable
instruments.
15. Accounts receivable, x
16. Alimony, maintenance, support, and Xx
property settlements in which the
debtor is or may be entitled. Give
particulars,
17. Other liquidated debts owing debtor X
> including tax refiinds. Give
& particulars,
$ 18. Equitable or future interest, life xX
5 estates, and rights or powers
€ d right
e exercisable for the benefit of the
g debtor other than those listed in
uY Schedule of Real Property.
¢ . Contingent and noncontingent
= | 19. Conti d ing x
$ interests in estate of a decedent, death
3 benefit plan, life insurance policy, or
8 trust.
7 20. Other contingent and unliquidated Xx
= claims of every nature, including tax
z refunds, counterclaims of the debtor,
. and rights ta setoff claims, Give
i estimated value of each.
a 21, Patents, copyrights, and other Xx
2 intellectual property. Give particulars.
@ | 22. Licenses, franchises, and other X
general intangibles. Give particulars.
23. Automobiles, trucks, trailers, and 1988 Chevrolet Astron Van J 500.00
other vehicles and accessories. 1993 Toyota Corolla d 700.00
24. Beats, motors, and accessories, x
25, Aircraft and accessories, x
26. Office equipment, furnishings, and x
supplies,
27, Machinery, fixtures, equipment, and Xx
supplies used in business.
28, Inventory. x
29. Animals. Xx
30. Crops - growing or harvested. Give x
particulars,
31. Farming equipment and implements. | X
32. Farm supplies, chemicals, and feed, x
33. Other personal property of any kind x
not already listed, Itemize.
TOTAL 4,515.00
(nclude amounts from any continuation sheets attached.
0 continuation sheets attached Report total also on Summary of Schedules.)

SCHEDULE B - PERSONAL PROPERTY
2

* JN RE Ocasio Rivera, Heriberto & Negron Cruz, Luz Aida

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Debtor(s)

Case No. 04-

SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

(Check one box}

Debtor elects the exemptions to which debtor is entitled under:

11 U.S.C. § 522(b)(1): | Exemptions provided in 11 U.S.C. § 322(d). NOTE: These exemptions are available only in certain states.

Ohiuuse. § 522(b)(2): Exemptions available under applicable nonbankruptcy federal laws, state or focal law where the debtor's dormicite has been located for 180
days immediately preceding the filing of the petition, or for a longer portion of the 180-day period than in any other place, and the debtor's
interest as a tenant by the entirety or joint tenant fo the extent the interest is exempt from process under applicable nonbankruptey law,

1993 Toyota Corolla

CURRENT MARKET
DESCRIPTION OF FROPERTY SPECIFY LAW PROVIDING EACH EXEMPTION ato WHHOUT DEDUGTING
EXEMPTIONS

SCHEDULE A ~-REAL PROPERTY
Cement residential property (3 bedrooms, |11 USC § 522(d}(1)} 29,584.00 85,000.00
2 bathrooms, kitchen, living room, dining
room, garage) and lot lacated at Bo.
Jaguas, Garr 941, Km 4.4, Gurabo, Puerto
Rico
SCHEDULE B - PERSONAL PROPERTY.
Bedroom set 11 USC § 522(d)(3) 300.00 300.00
Bedroom set 11 USC § 522(d)}(3) 300.00 300.00
Cistern 11 USC § §22(d}(3) 200.00 200.00
Dining room set 11 USC § §22(a)(3) 200.00 200.00
Electricity generator 11 USC § §22(a)(3) 400.00 400.00
Gas water heater 141 USC § 522(d)(3) 100.00 100.00
Grass cutter 411 USC § 522(d)}(3) 75.00 75.00
Living room set 11 USC § §22(d)(3) 300.00 300.00
Master bedroom set 41 USC § §22(d)(3} 400.00 400,00
Miscellaneous kitchen equipments and 11 USC § 522(d)(3) 200.00 200.00
furnishings
Refrigerator 11 USC § 522(d)(3) 200.00 200.00
Stove 11 USC § 522(d)(3) 100.00 100.00
TV set 11 USC § 522{d)(3)} 100.00 100.00
VCR 11 USC § §22(d)(3) 40.00 40.00
Clothes and personal effects 11 USC § 522{d){3) 300.00 300.00
1988 Chevrolet Astron Van 11 USC § §22(a)(5) 500.00 500.00

11 USC § 522(d}(2) 700.00 700.00

SCHEDULE GC - PROPERTY CLAIMED AS EXEMPT
4

IN RE Ocasio Rivera, Heriberto & Negrén Cruz, Luz Aida

Debtor{s)
SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

Case No. 04-

State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
date of filing of the petition, The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
the debtor chooses to da so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
security interests, List creditors in alphabetical order to the extent practicable. If all secured creditors will nat fit on this page, use the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
schedule of creditors, and complete Schedule H - Codebtors, Ifa joint petition is filed, state whether husband, wife, both of them, or the marital community may be liable
on each claim by placing an “H,” “W,” “J,” or “C,” respectively, in the column labeled “HWJC.”

If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
is disputed, place an “X” in the column labeled “Disputed,” (You may need to place an “X” in more than one of these three columns.)

Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of

Schedules.

[_] Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

Uu
Cc )N AMOUNT OF CLAIM
° NX] 1 | 1 | vanusorcecerint
CREDITOR'S NAME, MAILING ADDRESS rly DATE CLAIM WAS INCURRED, Tteys
INCLUDING ZIP CODE, AND ACCOUNT NUMBER. £ |) | NATURE OF LIEN, AND DESCRIPTION AND MARKET VALUBOF | 4, [7 | [) frrvrrtesrrtsssssssssssrserscenees
(See instructions above.) T PROPERTY SUBJECT TO LIEN clolr
0 E | A | E | UNSECURED PORTION, IF
R N]T |B ANY
TIE
. DB
= [Account No, 9700065601 J [Mortgage dent
2 |B L Gement residential property and lot located
é ae nO LO DE PR at Bo, Jaguas, Carr 941, Km 4.4, Gurabo, 20,416.00
‘ |SAN JUAN, PR 00922-2134 Puerto Rico “
5
= Value $ 85,000.00
& Account No, 07-101-001-2003953 J |Mortgage .
& Cement residential property and lot located
BANCO POPULAR DE PR
§ DIVISION SERVICIOS HIPOTECARIOS at Bo. Jaguas, Carr 941, Km 4.4, Gurabo, 35,000.00
¢ {PO BOX 71375 Puerto Rico
3 |SAN JUAN, PR 00936-8475
z Value $ 85,000.00
a Account No, 342-450030-03 J \Credit sales
& |COMMERCIAL MENDOZA
# 142000 AVE JESUS T PINERO severest 400
® |CAYEY, PR 00736-5574
Value $ 1,514.00
Account No,
Value $
Account No,
Value $
Subtotal
0 Continuation Sheets attached (Total of this page) 56,930.00
(Complete only on last sheet of Schedule D} TOTAL 56,930.00

(Report total also on Summary of Schedutes)

SCHEDULE 0 - CREDITORS HOLOING SECURED CLAIMS
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IN RE Ocasio Rivera, Heriberto & Negrén Cruz, Luz Aida Case No, 04-
1 Debtor(s)

SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to
priority should be listed in this schedule, In the boxes provided on the attached sheets, state the name, mailing address, including zip cade, and last four digits of the account
number, ifany, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. The complete account number
of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.

If any entity other than a spouse in a joint case may be jointly liable on a clair, place an “X” in the column labeled “Codebtor,” include the entiry on the appropriate
schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, bath of them or the marital community may be liable
on each claim by placing an “H,” “W,” “J,” or “C,” respectively, in the column labeled “HWJC.”

If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “XX” in the column labeled “Unliquidated.” If the claim
is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

Report the total of claims listed on each sheet in the box labeled “Subtotal” on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
on the last sheet of the completed schedule. Repeat this total also on the Summary of Schedules.

[_]Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS
(Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

[_| Extensions of credit in an involuntary case
Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the
earlier of the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(Q)

{"}] Wages, salaries, and commissions
Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
qualifying independent sales representatives up to $4,925* per person eatned within 90 days immediately preceding the filing of the
original petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(3).

[| Contributions to employee benefit plans
Money owed to employes benefit plans for services rendered within 180 days immediately preceding the filing of the original petition,
or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

{_] Certain farmers and fishermen
Claims of certain farmers and fishermen, up to a maximum of $4,925* per farmer or fisherman, against the debtor, as provided in 11

U.S.C. § 507(a)(5).

L | Deposits by individuals
Claims of individuals up to a maximum of $2,225* for deposits for the purchase, lease, or rental of property or services for personal,
family, or household use, that were not delivered or provided. 1] U.S.C. § 507(a)(6)

{_] Alimony, Maintenance, or Support
Claims of a spouse, former spouse, or child of the debtor for alimony, maintenance, or support, to the extent provided in 11 U.S.C.

§ 507(a)(7).

iw Taxes and Other Certain Debts Owed to Governmental Units
Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

| } Commitments to Maintain the Capital of an Insured Depository Institution
Claims based on commitments to the FDIC, RTC, Director ofthe Office of Thrift Supervision, Comptroller of the Currency, or Board
of Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository

institution, 11 U.S.C. § 507(a)(9).

* Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

1 Continuation Sheets attached

SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY GLAIMS
*’. IN RE Ocasio Rivera, Heriberto & Negrén Cruz, Luz Aida Case No, 04-
, Debtor(s)

SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
(Continuation Sheet)

Taxes and Other Certain Debts Owed to Governmental Units

(Type of Priority}
U
e|]N
c o}LIip TOTAL AMOUNT
o NYTETE OF CLAIM
. D|H riQ]s
wolboneaircope aro Accourauwaen | 8 | sae ea LY |B pre
- G|pitT
, 0 BE] A]E} AMOUNTENTITLED
R N/T |D TO PRIORITY
T|E
D
Account No. J {1040 PR 2001
INTERNAL REVENUE SERVICE
MERCANTIL PLAZA BLDG ROOM 914 on  15100,00
2 AVE PONCE DE LEON STOP 27
SAN JUAN, PR 00918-1621
. 4,100.00
6 Account No.
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z vacua tscuaseuatseaecontaneavenees
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S
2 Account No.
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Z sossctosdssanssanencensnaseaeens®
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i
8 Account No.
g
Bf anata ttnnnrnnrtcns cnncraneg ences
Account No.
Account No.
Subtotal
Sheet 1of 1 Continuation Sheets aitached to Schedule E (Total of this page) 1,100.00
(Complete only on last sheet of Schedule E) TOTAL 1,100.00

(Report total also on Summary of Schedules)

SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
eo"

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IN RE Ocasio Rivera, Heriberto & Negron Cruz, Luz Aida Case No. 04-
, Debtor(s}

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

State the name, mailing address, including zip code and last four digits of any account number of all entities holding unsecured claims without priority against the debtor
or the property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
the creditor and may be provided if the debtor chooses to do so. Do not include claims listed in Schedules D and E. Ifall creditors will not fit on this page, use the continuation
sheet provided.

If any entity other than a spouse in a joiat case may be joinily liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
schedule of creditors, and complete Schedule H - Codebtors. If'a joint petition is filed, state whether husband, wife, both of them, or the marital community may be liable
on each claim by placing an “H,” “W,” “J,” or “C,” respectively, in the column labeled “HWIC.”

If the claim is contingent, place an “X” in the column labeled “Contingent,” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

Report the total of ail claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule, Report this total also on the Summary of

Schedules.

[_] Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.

CREDITOR'S NAME, MAILING ADDRESS
INCLUDING ZIP CODE, AND ACCOUNT NUMBER
(See instructions above.)

DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.

IF CLAIM IS SUBJECT TO SETOFF, SG STATE. AMOUNT OF CLAIM

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Ons
Qmydwmeso

aAZmazztzeazoa
OmaAroecoeerzc

Account No. J [Credit sales

AGRO SERVICIOS INC
PO BOX 360393
SAN JUAN, PR 00936-0393

2,000.00

Account No, Contract 96-000155 J |Rents

ASDA
PO BOX 9200
SAN JUAN, PR 00908-0200

30,600.00

Account No. 044-029268 J {Credit line (Flexicuenta)

BANCO POPULAR DE PR
CONSUMER LOAN

PO BOX 363228

SAN JUAN, PR 00936-3228

16,099.00

Account No, Assignee or other notification for:

BANCO POPULAR DE PR BANCO POPULAR DE PR
BANKRUPTCY DIVISION
PO BOX 366818

SAN JUAN, PR 00936-6818

Account No, 3778-103016-18952 J |Credit card

BANCO POPULAR DE PR
CARD PRODUCTS DIVISION
PO BOX 70100

SAN JUAN, PR 00936-8100

2,053.00

Subtotal
3 Continuation Sheets attached (Total of this page) 50,752.00

(Complete only on last sheet of Schedule F) TOTAL
(Report total also on Summary of Schedules)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
—

IN RE Ocasio Rivera, Heriberto & Negrén Cruz, Luz Aida Case No. 04-
' Debtor(s}

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
(Continuation Sheet)

CREDITOR'S NAME, MAILING ADDRESS
INCLUDING ZIP CODE, AND ACCOUNT NUMBER,
(See instructions.)

DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.

IF CLAIM IS SEBIJECT TO SETOFF, SO STATE, AMOUNT OF CLAIM

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Com oe
OmAyqwvasd

AZMAaBZ=AZoa
Onhoar oe conrad

Account No, J
BANCO SANTANDER DE PR
PO BOX 362589

SAN JUAN, PR 00936-2589

110.00

Account No, 29380679 J [Municipal tax (2002, 2001, 2000, 1999)

CRIM

ASESORAMIENTO LEGAL
PO BOX 195387

SAN JUAN, PR 00919-5387

8,827.00

Account No, 10100166703560001 J |Gonsumer loan

EASY MONEY
PO BOX 4999
CAGUAS, PR 00726-4999

973.00

Account No, 3171 J |Municipal taxes (Patent)

GOBIERNO MUNICIPAL DE HUMACAO
DIVISION PATENTE

PO BOX 178

HUMACAO, PR 00792-0178

3,400.00

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Account No. J [Credit sales

GRANOSSA CORPORATION
PO BOX 11433
SAN JUAN, PR 00922-1433

7,842.00

Account No. 77582980 J |/Consumer loan

ISLAND FINANCE PR INC
BANKRUPTCY DIVISION
PO BOX 195369

SAN JUAN, PR 00919-5369

3,510.00

Account No. 12-03116202 J 11/29/01

MUEBLERIA BERRIOS Merchandise
PO BOX 674
CIDRA, PR 00739-0674

410.00

Subtotal
Sheet 1 of 3 Continuation Sheets attached to Schedule F (Total of this page) 25,072.00

(Complete only on last sheet of Schedule F) TOTAL
{Report total also on Summary of Schedules)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
-——

: IN RE Ocasio Rivera, Heriberto & Neqrén Cruz, Luz Aida
Debtor(s)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

Case No. 04-

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(Continuation Sheet)

CREDITOR’S NAME, MAILING ADDRESS

(See instructions.)

INCLUDING ZIP CODE, AND ACCOUNT NUMBER

FOxeMaoOR

Oud

DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.
{P CLAIM IS SUBJECT TO SETOFP, §0 STATE.

AAZMAZHBACA
Omron cesraza
UmMagwoMng

AMOUNT OF CLAIM

Account No,

NUTRIBEST CORPORATION
1138 AVE FD ROOSEVELT
SAN JUAN, PR 00920-2906

Credit sale

3,000.00

Account No,

NUTRIMIX FEED CO
PO BOX 3464
CATANO, PR 00963-3464

Credit sales

4,000.00

Account No.

PAN AMERICAN GRAIN CO
PO BOX 41136
SAN JUAN, PR 00840-1136

Credit sales

1,900.00

Account No.

PR DEPARTMENT OF TREASURY
OFFICE 424-B

PO BOX 9024140

SAN JUAN, PR 00902-4140

PR Income Tax

409.00

Account No.

DEPARTMENT OF JUSTICE
FEDERAL LITIGATION DIVISION
PO BOX 9020192

SAN JUAN, PR 00902-0192

PR DEPARTMENT OF TREASURY

Assignee or other notification for:

Account No.

SUPER A FERTILIZER
PO BOX 429
MAYAGUEZ, PR 00681-0429

Credit sales

5,000.00

Account No, 01-58-1301 04-1403-6

THE ASSOCIATES FINANCE
PO BOX 204
GURABO, PR 00778-0204

Consumer loan

4,981.00

Sheet 2of

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

3 Continuation Sheets attached to Schedule F

(Complete only on last sheet of Schedule F} TOTAL

Subtotal
(Total of this page)

19,290.00

(Report total also on Summary of Schedules)
re

IN. RE Ocasio Rivera, Heriberto & Neardén Cruz, Luz Aida Case No, 0@4-
Debtor(s) :
‘ SCHEDULE F - CREDITORS HOLDING UNSECUREB NONPRIORITY CLAIMS
(Continuation Sheet)
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D H ° T Q §
REDITOR'S NAME, MAILING ADDRESS
INeLUDNGZInCOBE, AND AccOUNTNUNER | & | Y | PATECLAREAS co a eee AM LATE TE | awousrorcia
| ¢ eye
R NI T/DB
T)E
DR
Account No. Assignee or other notification for:
THE ASSOCIATES FINANCE THE ASSOCIATES FINANCE
BANKRUPTCY DIVISION
PO BOX 1616
BAYANION, PR 00960-1616
Account No, 01-58-1301 04-06307 J |Consumer lfoan
THE ASSOCIATES FINANCE
PO BOX 204
GURABO, PR 00778-0204
6
§ 4,997.00
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& Account No.
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8
= Account No.
g
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8
R
2 | Account No,
Go
Account No.
Account No.
Subtotal
Sheet 3 of 3 Continuation Sheets attached to Schedule F (Total of this page) 4,997.00
(Complete only on last sheet of Schedule F) TOTAL 100,111.00

(Report total also on Summary of Schedules)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
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IN RE Ocasio Rivera, Heriberto & Negrén Cruz, Luz Aida

Case No. 04-

Debtor(s)

SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe al! executory contracts of any nature and all unexpired leases of real or personal property, Include any timeshare interests.

State nature of debtor's interest in contract, i.¢,, "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease,

Provide the names and complete addresses of all other parties to each lease or contract. described.

NOTE: A party listed on this schedule wili not receive notice of the filing of this case unless the party is also scheduled in the appropriate schedule of creditors.

WM check this box if debtor has no executory contracts or unexpired leases.

NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
OF GTHER PARTIES TO LEASE OR CONTRACT

DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S INTEREST.
STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY
STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.

SCHEQULE G - EXECUTORY CONTRAGTS AND UNEXPIRED LEASES

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Case No. 04-

IN RE Ccasio Rivera, Heriberto & Negrén Cruz, Luz Aida
. Debtor(s)

{check this box if debtor has no codebtors.

SCHEDULE H - CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debis listed by debtor in the schedules of
creditors. Include all guarantors and co-signers. In community property states, a married debtor not filing a joint case should report the name and address of the nandebtor
spouse on this schedule. Include all names used by the nondebtor spouse during the six years immediately preceding the commencement of this case.

NAME AND ADDRESS OF CODEBTOR

NAME AND ADDRESS OF CREDITOR

SCHEDULE H - GQDEBTORS

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. IN RE Ocasio Rivera, Heriberto & Negrén Cruz, Luz Aida

Debtor(s}

Case No. 04-

SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)

The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a chapter 12 or 13 case whether or not a joint petition is filed,
unless the spouses are separated and a joint petition is not filed.

Debtar’s Marital Status DEPENDENTS OF DEBTOR AND SPOUSE
Married RELATIONSHIP AGE
Daughter 16 yr
Daughter 15 yr
Daughter 12 yr
EMPLOYMENT; DEBTOR SPOUSE
Occupation Construction Works Receiving
Name of Employer Supermercados Amigos
How longemployed Since 2/04 Walmart Puerto Rico Inc
Address of Employer 1500 Ave. Comerio
Bayamon, Puerto Rico
Income: (Estimate of average monthly income) DEBTOR SPOUSE
Current Monthly gross wages, salary, and commissions (pro rata if not paid monthly) $ $ 41,219.90
Estimated monthly overtime $ 5
SUBTOTAL $ 0.00 $ 1,219.90
LESS PAYROLL DEDUCTIONS
a, Payroll taxes and Social Security $ $ 406.97
b. Insurance $ $ 0.72
c. Union dues $ $
d. Other (specify) See Schedule Attached $ § 142.12
$ $
SUBTOTAL OF PAYROLL DEDUCTIONS $ 0.00 $ 249.81
TOTAL NET MONTHLY TAKE HOME PAY $ 0.00 $ 970.09
Regular income from operation of business or profession or farm (attach detailed statement)  $ $
{Income from real property $ $
interest and dividends § $
Alimony, maintenance or support payments payable to the debtor for the debtor’s use
or that of dependents listed above $ $
Social Security or other government assistance
(Specify) $ $
$ $
Pension or retirement income 5 $
Other monthly income
(Specify) Christmas Bonus $180/12 $ $ 15.00
Construction Works (@$250 piweek) $ 1,083.00 $
$ $
TOTAL MONTHLY INCOME $ 1,083.00 $ 985.09

TOTAL COMBINED MONTHLY INCOME $

Describe any increase or decrease of more than 10% in any of the above categories anticipated to accur within the year following the filing of this document:

2,068.09 (Report also on Summary of Schedules)

SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S}
_ IN RE Ocasio Rivera, Heriberto & Negrén

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Cruz, Luz Aida

Debtor(s)

Case No, 04-

SCHEDULE J - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)

Continuation Sheet - Page 1 of 1

Other Payroll Deductions:
ins Med/PR

ins Den/PR

LTD - Hourly

Copd Dis - PR

Co Stock Cont

Stock Purch

SCHEDULE] - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)

DEBTOR

SPOUSE

95.33
15.17
4.88
1.82
3.25
21.67
—

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IN RE Ocasio Rivera, Heriberto & Negr6n Cruz, Luz Aida Case No. 04-

Debtor(s)

SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)

Complete this schedule by estimating the average monthly expenses of the debtor and the debtor’s family. Pro rate any payments made bi-weekly, quatterly, semi-annually,

or annually to show monthly rate,

("} Check this box ifa joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of

expenditures labeled “Spouse.”

Rent or home mortgage payment (include lot rented for mobile home)
Are real estate taxes included? Yes No ¥
Is property insurance included? Yes No ¥

$344.00

Utilities: Electricity and heating fuel $ 400.00
Water and sewer $ 10.00
Telephone $
Other Gellular $ 10.00

Gas $ 20.00
$

Home maintenance (repairs and upkeep) $

Food . $ 600.00

Clothing $ 60,00

Laundry and dry cleaning $

Medical and dental expenses $ 30,00

Transporiation (not including car payments) $

Recreation, clubs and entertainment, newspapers, magazines, etc, $ 50.00

Charitable contributions ‘ $

Insurance (not deducted from wages or included in home mortgage payments)

Homeowner’s or renter’s 5
Life $
Health $
Auto $
Other $

$

§

Taxes (not deducted from wages or included in home mortgage payments)

(Specify) $
$
$

Instaflment payments (in chapter 12 and 13 cases, do not list payments to be included in the plan)

Auto $
Other §
$

Alimony, maintenance, and support paid to others $

Payments for support of additional dependents not living at your home 5

Regular expenses from operation of business, profession, or farm (attach detailed statement) $

Other Lunches at works $ 160.00

Gasoline and car maintenance § 180.00
School Expenses (Uniforms, Daily) 3 87.10
$
$

TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)

{FOR CHAPTER 12 AND 13 DEBTORS ONLY)

$ 1,618.10

Provide the information requested below, including whether plan payments are to be made bi-weekly, monthly, annually, or at some

other regular interval.

Total projected monthly income

Total projected monthly expenses

Excess income (A minus B)

Total amount io be paid into plan each Monthly

GOW >

2,068.10
1,618.10

§
$
$ 450.00
$ 450.00

(interval)

SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
eC

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IN RE Ocasio Rivera, Heriberto & Negrén Cruz, Luz Aida Case No, 04-
° Debtor(s)

DECLARATION CONCERNING DEBTOR'S SCHEDULES

DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

{declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of SF ¥¥sheets, and that
(Total skown on summary page plus £)
ang belief.

they are true and correct to the best of my knowledge, information,

Date: October 7, 2004 Signature: Ze LU CCA.

Heriberfo Pe I é Debtor
Date: October 7, 2004 Signature: of AMAL ‘ Necrin Cus,

Luz Aida Negrdh Cruz g / (joint Debtor Fang)

[If joint case, both spouses must sign.}

CERTIFICATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C, § 110)

[ certify that 1 am a bankruptcy petition preparer as defined in 11 U.S.C. § 110, that I prepared this document for compensation, and that
[ have provided the debtor with a copy of this document.

Printed or Typed Name of Bankruptcy Petition Preparer . Sacial Security No.
(Required by 11 U.S.C. § 110(c).)

Address

Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each
person.

Signature of Bankruptcy Petition Preparer Date

A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedures may result
in fines or imprisonment or both. 17 U.S.C. § 110; 18 U.S.C. $ 156.

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

1, the (the president or other officer or an authorized agent of the corporation or a
member or an authorized agent of the partnership) of the
(corporation or partnership} named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and

schedules, consisting of sheets, and that they are true and correct to the best of my knowledge, information, and belief.
(Total shawn on summary page plus 1)

Date: Signature:

(Print or type name of individual signing on behalfofdebtor)

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
Penalty for making a false statement or concealing property. Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C, §§ 152 and 3571.

DECLARATION CONCERNING DEBTOR'S SCHEDULES
, : United States Bankruptcy Court
District of Puerto Rico

~ INRE: Case No. 04-

Ocasio Rivera, Heriberto & Negron Cruz, Luz Aida Chapter 13
Debtor(s) -

STATEMENT OF FINANCIAL AFFAIRS

This statement is ta be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
is combined. Ifthe case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
is filed, unless the spouses dre separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
pexsonal affairs.

Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19-25.
If the answer to an applicable question is “None,” mark the box labeled “None.” If additional space is needed for the answer to any question, use
and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

DEFINITIONS

“In business.” A debtor is “in business” for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is “in business”
for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case, any of the following:
an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
partner, ofa partnership; a sole proprietor or self-employed.

“Insider.” The term “insider” includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
which the debtor is an officer, director, or person in control; officers, directors, and any owner of 3 percent or more of the voting or equity securities of
a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. if U.S.C. § 10E.

1. Income from employment or operation of business

None State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business from

[1 the beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the two years immediately
preceding this calendar year. (A debtor that maintains, or has maintained, financial records on the basis ofa fiscal rather than a calendar year may
report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) Ifa joint petition is filed, state income for each spouse
separately, (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless
the spouses are separated and a joint petition is not filed.)

AMOUNT SOURCE (if more than one)
12,768.02 Supermercados Amiges Inc. - 2003 (W)

961.78 Mercado Central Amigo Inc - 2002 (W)
1,310.00 Income from business - 2002 (H)
7,500.00 Income from construction works - year to date (H)@

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2. Income other than from employment or operation of business

None State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor’s business during

vw the two years immediately preceding the commencement of this case. Give particulars. Ifa joint petition is filed, state income for each spouse
separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
the spouses are separated and a joint petition is not filed.)

3. Payments to creditors

Nene a, List all payments on loans, installment purchases of goods or services, and other debts, aggregating more than $600 to any creditor, made within
wf 90 days immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter {3 must include payments
by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

None , List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or
Wf were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or nota joint petition
is filed, unless the spouses are separated and a joint petition is not filed.)

4, Suits and administrative proceedings, executions, garnishments and attachments

None g, List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
vf bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

STATEMENT OF FINANCIAL AFFAIRS
None, Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
wf the commencement of this case, (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

§. Repossessions, foreclosures and returns

None List all property that has been repossessed by a creditar, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to

iw the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
joint petition is not filed.)

6. Assignments and receiverships
None a, Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case,
iv (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not ajoint petition is filed,
unless the spouses are separated and joint petition is not filed.)

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None, List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the

[¥I_ commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

7. Gifts

None List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual

wf gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
per recipient, (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or bath spouses whether or not
a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

§. Losses

None List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
iw commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

9. Payments related to debt counseling or bankruptcy

None List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
consolidation, relief under bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement

of this case,
DATE OF PAYMENT, NAME OF AMOUNT OF MONEY OR DESCRIPTION
NAME AND ADDRESS OF PAYEE PAYOR IF OTHER THAN DEBTOR AND VALUE OF PROPERTY
Roberto Figueroa Carrasquillo, Esq. 10/07/04 300.00
PO Box 186

Caguas, PR 00726-0186

10, Other transfers

None List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either
absolutely or as security within one year immediately preceding the commencement of this case, (Married debtors filing under chapter 12 or
chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint

petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE, DESCRIBE PROPERTY TRANSFERRED
RELATIONSHIP TO DEBTOR. DATE AND VALUE RECEIVED

Rafael Rodrigttez 12/03 Sold business’ esquipment in the
Humacao, PR amount of $4,000

no relation

11. Closed financial accounts

Nove List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise

FJ transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, association,
brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
petition is not filed.)

TYPE AND NUMBER OF ACCOUNT AMOUNT AND DATE OF SALE

NAME AND ADDRESS OF ENSTITUTION AND AMOUNT OF FINAL BALANCE OR CLOSING
COOP A/C GURABO Gommercial account $30, closed on December 2003

STATEMENT OF FINANCIAL AFFAIRS
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PO BOX 678
GURABO, PR 00778-0878

12, Safe deposit boxes

None List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
preceding the commencement of this case, (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

13. Setoffs

None List all setoffs made by any creditor, including a bank, apainst a debt or deposit of the debtor within 90 days preceding the commencement of this
case. (Married debtors filing under chapter !2 or chapter 13 must include information concerning either or both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed.)

14. Property held for another person

None List all property owned by another person that the debtor holds or controls.

15. Prior address of debtor

None [f the debtor has moved within the two years immediately preceding the commencement of this case, list all premises which the debtor occupied
during that period and vacated prior to the commencement of this case. If a joint petition is filed, report aiso any separate address of either spouse.

16. Spouses and Former Spouses

None [fthe debtor resides or resided ina community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the six-year period immediately preceding the commencement of
the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state,

17. Environmental Information
For the purpose of this question, the following definitions apply:

“Environmental Law” means any federal, state, or local statute or regulation reguiating pollution, contamination, releases of hazardous or toxic substances,
wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
the cleanup of these substances, wastes or material.

“Site means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
debtor, including, but not limited to, disposal sites.

“Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant
or similar term under an Environmental Law,

None g, List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
Environmental Law.

None hy, List the name and address of every site for which the debtor provided notice to a governmental unit ofa release of Hazardous Material. Indicate
the governmental unit to which the notice was sent and the date of the notice.

None ¢. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor
is or was a party, Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

18. Nature, location and name of business

Nore g, Ff the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates

[-] of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partnership, sole proprietorship,
or was a self-employed professional within the six years immediately preceding the commencement of this case, or in which the debtor owned
5 percent or more of the voting or equity securities within the six years immediately preceding the commencement of this case.

If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within the six years immediately
preceding the commencement of this case.
If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within the six years immediately
preceding the commencement of this case.

TAXPAYER NATURE OF BEGINNING AND
NAME 1D, NUMBER ADDRESS BUSINESS ENDING DATES

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Cehtro Ventas Productos Agricolas Bo. Pitahaya Carr 924 Km 4.3 Productos 1996 to 2003
Humacao, PR agrticolas

None bh, Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined in 11 U.S.C. § 101.

The following questions are to be completed by every debtor that is a corporation or partnership and by any individuat debtor who is or has been, within
the six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner of more
than 5 percent of the voting or equity securities of a corporation; a partner, other than a Limited partner, of a partnership; a sole proprietor or otherwise

self-employed.
(An individual or joint debtor should complete this portion of the statement only ifthe debtor is or has been in business, as defined above, within the six
years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go directly to the

signature page.)

19. Books, records and financial statements

None. List ali bookkeepers and accountants who within the two years immediately preceding the filing of this bankruptcy case kept or supervised the
keeping of books of account and records of the debtor.

None, List all firms or individuals who within the two years inumediately preceding the filing of this bankruptcy case have audited the books of account
iw and records, or prepared a financial statement of the debtor.

None, List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
vw debior. If any of the books of account and records are not available, explain.

None qd, List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom a financial statement was issued
iW within the two years immediately preceding the commencement of the case by the debtor.

20. Inventories
None a, List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of cach inventory, and the
dollar amount and basis of each inventory.

None b, List the name and address of the person having possession of the records of each of the two inventories reported in a., above.

21. Current Partners, Officers, Directors and Shareholders

None a. If the debtor is @ partnership, list the nature and percentage of partnership interest of each member of the partnership,

Nene b, If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls,
i or holds 5 percent or more of the voting or equity securities of the corporation.

22, Former partners, officers, directors and shareholders
Nore a If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement
of this case.

Nore bh, If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately
preceding the commencement of this case.

23. Withdrawals from a partnership or distributions by a corporation

None Ifthe debtor isa partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this

case,

24. Tax Consolidation Group

None [f the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated group for tax
purposes of which the debtor has been a member at any time within the six-year period immediately preceding the commencement of this case,

25. Pension Funds.
None ff the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as. an employer,
has been responsible for contributing at any time within the six-year period immediately preceding the commencement of the case.

STATEMENT OF FINANCIAL AFFAIRS
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lif completed by an individual or individual and spouse]

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
thereto and that they are true and correct.

Date: October 7, 2004 Signature Lido Lh odd \Osete

of Debtor Heriberto Ocasio Rivera
Date: October 7, 2004 Signature 0) Cy. Megan Chew

of Joint Debtor @ Luz Aida Negrén Cruz

(if any}

0 continuation pages attached

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. $ 152 and 3571.

STATEMENT OF FINANCIAL AFFAIRS

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United States Bankruptcy Court
District of Puerto Rico

IN RE: Case No, 04-

Ocasio Rivera, Heriberto & Negrén Cruz, Luz Aida Chapter 13
Debtor(s)

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1. Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debior(s) and that compensation paid to me within
one year before the filing of the petition in bankruptey, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation

of or in connection with the bankruptcy case is as follows:

For legal services, {have agreed to accept ..... 0... eee cere tee ene eben penne tne ee naeneteeneeetgetnae $ 1,500.00
Prior to the filing of this statement Ihave received ....0... ccc cece essence ce eeeceatauetreueunes beeen cena etacceneeeennes $ 300.00
Balance Due ooo. ccc cece cece cece cece tbe eb cen nen eddy cn we tte begyaeresebneeeeenerseunraeyettuantnrnerrins $ 1,200.00

2, The source of the compensation paid to me was: Mrebtor Ly Other (specify):
3. The source of compensation to be paid to me is: Mebtor C] Other (specify).
4. vf I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

Cj I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy of the agreement,
together with a list of the names of the people sharing in the compensation, is attached.

5. In retum for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;

Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof
Representation of the debtor in adversary proceedings and other contested bankruptcy matters:

(Other provisions as needed] .

2 Be se

6. By agreement with the debtor(s), the above disclosed fee does not include the following services:

CERTIFICATION

I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this bankruptcy
proceeding.

October 7, 2004

Date fe Signature of Attomey / /
R. FIGUEROA CARRASQUILLO ATTORNEY AT LAW
Name of Law Firm

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
Ocasio Rivera, Heriberto
HC 1 Box 9449
Gurabo, PR 00778-9802

Negrén Cruz, Luz Aida
Bo. Jaquas

Carr 914 Km 4.4
Gurabo, PR

R. FIGUEROA CARRASQUILLO
ATTORNEY AT LAW

PO BOX 186

CAGUAS, PR 00726-0186

AGRO SERVICIOS INC
PO BOX 360393
SAN JUAN, PR 00936-0393

ASDA
PO BOX 9200
SAN JUAN, PR 00908-0200

BANCO DE DESARROLLO DE PR
PO BOX 2134
SAN JUAN, PR 00922-2134

BANCO POPULAR DE PR

DIVISION SERVICIOS HIPOTECARIOS
PO BOX 71375

SAN JUAN, PR 00936-8475

BANCO POPULAR DE PR
CONSUMER LOAN

PO BOX 363228

SAN JUAN, PR 00936-3228

BANCO POPULAR DE PR
CARD PRODUCTS DIVISION
PO BOX 70700

SAN JUAN, PR 00936-8100

BANCO POPULAR DE PR
BANKRUPTCY DIVISION
PO BOX 366818

SAN JUAN, PR 00936-6818

BANCO SANTANDER DE PR
PO BOX 362589
SAN JUAN, PR 00936-2589

COMMERCIAL MENDOZA
12000 AVE JESUS T PINERO
CAYEY, PR 00736-5574

CRIM

ASESORAMIENTO LEGAL
PO BOX 195387

SAN JUAN, PR 00919-5387

DEPARTMENT OF JUSTICE
FEDERAL LITIGATION DIVISION
PO BOX 9020192

SAN JUAN, PR 00902-0192

EASY MONEY
PO BOX 4989
CAGUAS, PR 00726-4999

GOBIERNO MUNICIPAL DE HUMACAO
DIVISION PATENTE

PO BOX 178

HUMACAO, PR 00792-0178

GRANOSSA CORPORATION
PO BOX 11433
SAN JUAN, PR 00922-1433

INTERNAL REVENUE SERVICE

MERCANTIL PLAZA BLDG ROOM914 “yj

2 AVE PONCE DE LEON STOP 27
SAN JUAN, PR 00918-1621

ISLAND FINANCE PR INC
BANKRUPTCY DIVISION
PO BOX 195369

SAN JUAN, PR 00919-5369

MUEBLERIA BERRIOS
PO BOX 674
CIDRA, PR 00739-0674

NUTRIBEST CORPORATION
1138 AVE FD ROOSEVELT
SAN JUAN, PR 00920-2906

NUTRIMIX FEED CO
PO BOX 3464
CATANO, PR 00963-3464

PAN AMERICAN GRAIN CO
PO BOX 41136
SAN JUAN, PR 00940-1136

PR DEPARTMENT OF TREASURY
OFFICE 424-B

PO BOX 9024140

SAN JUAN, PR 00902-4140

SUPER A FERTILIZER
PO BOX 429
MAYAGUEZ, PR 00681-0429

THE ASSOCIATES FINANCE
PO BOX 204
GURABO, PR 00778-0204

THE ASSOCIATES FINANCE
BANKRUPTCY DIVISION

PO BOX 1616

BAYAMON, PR 00960-1616
IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF PUERTO RICO

IN THE MATTER OF:

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CASE NO.04-

Ocasio Rivera, Heriberto &
Negrdén Cruz, Luz Aida
A/KiA Centro Ventas Productos Agricolas
CHAPTER 13
Debtor(s)
Spo
NOTICE TO DEBTOR OF FILING A PETITION IN BANKRUPTCY UNDER CHAPTER IP gé, 4
on es s
Co Co. we

Upon the filing of the instant petition, the items checked were not submitted to the Court: o- ens
[ ] Signature (Upon filing)
[ 1 Master Address List (Upon fiting) (oO

] Master address list in Diskette (Upon fiting)

[
{ ] List of Creditors (Upon filing)

=

] Statement of Social Security Number (Form B-21} and/or Employer ID Number (Upon filing)

[ ] Statement disclosing compensation paid or io be paid to the attorney for the
debtor Must be submitted upon filing or within 15 days or any other date set by the
Court. 11 U.S.C. §329 and Rule 2016 (i) Fed. R Bankr.P.

{ J Chapter 13 Plan (Must be submitted with the petition or within 15 days)
[  ] Schedules (Must be submitted with the petition or within 15 days)

[ } Statement of Affairs (Official Form 7)
(Must be submitted with the petition or within 15 days. Rule 1007(b) & (c)

You are hereby notified that upon failure te file the above indicated documents
within the prescribed period of time specified herein, the Court may enter an order. of
dismissal without further notice or hearing.

OCT 72 2004

San Juan, Puerto Rico, this

. BY ORDER OF THE COURT
* CELESTINO MATTA-MENDEZ

DEPUTY CLERK

